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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                        Plaintiffs,

                v.                                             Civil Action No. 5:21-cv-844 (XR)
                                                               (consolidated cases)
 STATE OF TEXAS, et al.,

                        Defendants.


                       PLAINTIFFS’ JOINT NOTICE RELATED TO
                     THE OCA INJUNCTION MODIFICATION ORDER

       Plaintiffs hereby notify the Court that they concur with the OCA Plaintiffs’ position

regarding the potential impact of the injunction modification order in OCA Greater Houston v.

State of Texas, No. 1:15-cv-679 (W.D. Tex. June 6, 2022), ECF No. 110, on their claims against

Section 64.034 of the Texas Election Code. See OCA Pls.’ Notice at 5, ECF No. 438.

Date: June 15, 2022

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                                             Assistant Attorney General

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                                             /s/ Jennifer Yun
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 15, 2022, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification of this filing to counsel of
record.


                                              /s/ Jennifer Yun
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